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            EXHIBIT 174
            REDACTED
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       Name of the Chapter Committee

        Institution

       Statements of recommendations with possible direct evidence requiring systematic reviews by
                       's team

          1. Our committee has submitted all potential systematic review questions to

                      Yes               n No                      N/A (no systematic review needed)

          2. Our committee is working to finalize potential systematic review questions to


                      Yes                    No               FIN/A (no systematic review needed)
          3. If no, please explain and indicate when you will be able to finalize and submit to
                        these?

                      3.a. Expected date to finalize:

                      3.b. Expected date to send the review questions to

                      3.c. Reason why statements have not been finalized or sent:




       Statements of recommendation with no direct evidence (not requiring systematic reviews by
                       's team)

          4. Our committee has reached consensus and finalized all other best practice
             recommendations

                      Yes                    No

          5. If your committee is still working on reaching consensus and finalizing your best practice
             recommendations.


                      Estimate time of completion:


          6. Have you used the list of publications sent by                     's team for your chapter?

                      Yes                    No

             Comment:




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          7. Have you started writing explanatory paragraphs to your recommendations?

                     Yes                     No

             Comment:



          8. Have you used the statements from the SOC-7 as sent by                      team?

                     Yes                     No

             Comment:



          9. What kind of support do you feel you need to complete your tasks?




          10. Would a face-to-face meeting of some or all of your committee members be helpful to you
              in completing your tasks?

                     Yes                 ✓ No                         Maybe       Comment

          11. Are you planning to publish a "background paper" in IJT related to your chapter?

                                                                 Comment
                7 Yes                    ✓ No

          12. Please provide any other comments or suggestions for moving forward.




          13. Please add any particular concern that you have about the content of your chapter:
             Our concerns, echoed by the social justice lawyers we spoke with, is that evidence-based review reveals little or
             no evidence and puts us in an untenable position in terms of affecting policy or winning lawsuits.



          14. Any other comments:




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                                                 rR                                 ■     ■      ■
                                               WORLD PROFESSIONAL ASSOCIATiai FOR TRANSGENDER HEALTH




                            WPATH Policy for Disclosures of Interests and
                                    Management of Conflicts
                                       Standards of Care 8
       The World Professional Association for Transgender Health (WPATH) develops the Standards of Care
       (SOC) for the health of Transsexual, Transgender and Gender Nonconforming People. Appointment to
       the SOC8 Committee as a Chair, Methodologist, Chapter Lead or Chapter Member is subject to approval
       of the WPATH Board.

       Interests must be disclosed using the WPATH Disclosure Form. The Disclosure Form collects
       information about financial relationships with entities with direct interest in the SOC8 as well as any non-
       financial interests such as previously published opinions, institutional relationships, advocacy or policy
       positions, or specialty practice that may relate to the topics in SOC8.

       Management of Conflicts of Interest
       The WPATH Board reviews and assesses disclosure forms. Management of conflicts may include
       prohibiting membership in SOC8, open discussion with other chapter or SOC8 members, and/or recusal
       from decisions specific to disclosed interests.

        Completed and signed forms should be submitted for review of the WPATH Board to
         Please complete and sign by December 22, 2018.

       Part 1. Identifying Information
       Name:

       Complete Mailing Address:

       Email Address

       Telephone Number (Daytime):

       Current Employer/Affiliation: UCSF

       Chapter(s):
                     USPATH


       Complete All Parts of this Disclosure Form
          •    Check "No" if no disclosure exists.
          •    Check "Yes"- please provide the requested information next to each item where "Yes"
               was checked.


       Part 2. Financial Activities Related to SOC8
       For each of the items listed in Section 2, consider stocks, bonds, and other financial
       activities and investments including partnerships (but excluding broadly diversified
       mutual funds and any investment or financial interest valued at less than $5,000 USD).




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                                            r.                                 •       •    ■
                                          WORLD PROFESSIONAL ASSOCIATiai FOR TRANSGENDER HEALTH




                           Item                                      No Yes                   Describe relationship, including name
                                                                                                      of entity and amount.
       2.1 Do you or your partner/spouse or
       minor children or dependents own directly
       or indirectly (e.g., through a trust or an
       individual account in a pension or profit-
       sharing plan) any stocks, bonds or other
       financial investments that may in any way
       gain or lose financially from SOC8?
       2.2 Do you or your partner/spouse or
       minor children or dependents hold or are 1
       you currently applying for any patents
       related to the content of SOC8?
       2.3 Have you or your partner/spouse or
       minor children or dependents received                                                 NIH
                                                                                             California HIV/AIDS Research
       research grants or contracts (restricted or Li
       unrestricted) from an organization that has                             7             Program
       interests or activities related to the content of                                     PCORI
       SOC8?                                                                                 HRSA
       2.4 Have you or your partner/spouse or
       minor children or dependents received                                                 Planned Parenthood
       reimbursements, fees or salary from an                                                Inland Empire Health Plan
       organization that has interests or activities                               ✓
       related to the content of SOC8? (e.g., as a
       board member, advisor, consultant, payment
       for manuscript, speakers' bureaus, travel,
       expert testimony)?
       2.5 Do you or your partner/spouse or
       minor children or dependents have any             H
       other financial interests related to SOC8?


       Part 3. Non-Financial Activities Related to SOC8

                             Item                  No Yes           Describe Interest
        3.1 Have you or your partner/spouse or
        minor children or dependents ever                 I have over 30 peer-reviewed
        authored, coauthored, or publicly provided        publications in the field of
        an opinion related to the topics in SOC8?         transgender health, and most if not
        3.2 To the best of your knowledge, do
        you or your partner/spouse or minor
                                                   Fe—
        children or dependents work for, or are
                                                                                   7
        you a member of an organization with a
        stated position (e.g., position statement,




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                                          WORLD PROFESSIONAL ASSE.x-          TN


                                Item                      No Yes           Describe Interest
        blog, editorial, legislature or legal testimony, i
        or related document) related to SOC8?
        3.3 Could recommendations in SOC8
        conflict with policies you have promoted or i
        are obliged to follow?
        3.4 Do you have a primary specialty or
                                                          Ill    Primary Care
        subspecialty?
        3.5 Do you prescribe or otherwise
        recommend a test, therapy, treatment or                        r--✓
                                                                 I am the Medical Director for an
                                                                 academic transgender medicine
        program to be considered in SOC8?
        3.6 Do you or your partner/spouse or
        minor children or dependents have any                    I do not understand this question.
                                                              I  Everyone involved in the SOC
        other non-financial interests related to          -
        SOC8?                                                    process  has a non-financial interest
        3.7Are you or your partner/spouse or
        minor children or dependents employed
        by an organization/company or work in a               ✓
        field that is likely to be directly influenced by
        content in SOC8?


       Part 4. Certification
       I certify that the information above is true and complete. Further, I agree to update and
       resubmit this form if I enter into any new financial or non-financial relationships/roles
       related to SOC8.

       Print Name

       Signature:

       Date:
                    1/20/2019




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